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   Atachment A     Government response to the Mo�on       (ECF 188) - Case 1:23-cr-00118-AT
                   for Return of Property (7 Dec 2023)    Document 188

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   Atachment B     Leter in reply to the trustee          n/a
                   objec�ons to the mo�on for the
                   return of property – Brad Geyar.
   Atachment C     The Debters Mo�on for relief from      (DOC 561 ) - Case 22-50073 (JAM)
                   order Appoin�ng Luc Despins.           Doc 561

                   Bankruptcy Trustee’s lawyer (Paul      (ECF 189) - Case 1:23-cr-00118-AT
   Atachment D     Has�ngs leter) ﬁled on behalf of Luc
                   Despins on 8 Dec 2023
   Atachment E     Luc Despins/ Paul Hastings fees and    Case 22-50073 Doc 2256 Pg 3
                   Expenses.                              Onwards

   Atachment E1    Transcript (highlighted)               (ECF 151-3) Case 1:23-cr-00118-AT
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   Atachment F     Governments Forfeiture Bill of         (ECF 38) - Case 1:23-cr-00118-AT
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   Atachment G     Letter from Candeys Solicitors

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Atachment G1       Transcript                             Case 22-50073 Doc 1985
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Atachment H        Bankruptcy counsel represen�ng         (ECF 2425) - Case 22-50073 Doc
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